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                                                                                2023 Oct-16 PM 05:11
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

DRUMMOND COMPANY, INC., and                    )
DRUMMOND, LTD.,                                )
                                               )
                             Plaintiffs,       )
                                               )
       v.                                      )
                                               )
TERRENCE P. COLLINGSWORTH,                     )
individually and as agent of Conrad & Scherer, )
LLP, International Rights Advocates, Inc., and )
Albert Van Bilderbeek; CONRAD &                )   Case No. 2:15-cv-00506-RDP
SCHERER, LLP; William R. Scherer, Jr.,         )
individually and as agent of Conrad & Scherer, )
LLP; INTERNATIONAL RIGHTS                      )
ADVOCATES, INC.; IVAN ALFREDO                  )
OTERO MENDOZA; FRANCISCO                       )
RAMIREZ CUELLAR; and ALBERT Van                )
BILDERBEEK.                                    )
                                               )
                             Defendants.       )




  CONRAD & SCHERER’S REPLY IN SUPPORT OF ITS RENEWED MOTION FOR
            PERMISSION TO DEPOSE SALVATORE MANCUSO
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          Since March of this year, Conrad & Scherer (“C&S”) has been seeking Drummond’s

consent, or the Court’s permission, to depose Salvatore Mancuso, the former head of the AUC

who named Drummond as one of its supporters. Drummond has opposed C&S’s efforts at every

turn, even though C&S has already produced more than 2,600 documents relating to Mancuso. In

its most recent opposition, Drummond does not offer any new arguments or identify any new

facts related to Mancuso. Instead, Drummond uses its response to discuss a series of agreements

(many unsigned) not involving C&S and wholly unrelated to Mancuso. Those agreements are

irrelevant to the questions of whether C&S has complied with the Court’s orders regarding

Mancuso’s deposition and whether C&S has already produced information sufficient to allow the

deposition to move forward. It has done both.

          The Federal Rules demand reasonableness in discovery, not perfection. Cutlass

Collieries, LLC v. Garrett Myron Jones, No. 20-CV-80001-RLR, 2021 WL 6135152, at *3 (S.D.

Fla. Dec. 7, 2021) (“A discovery respondent need not conduct a perfect search, nor a

comprehensive one. The search must be reasonable under the circumstances of the case.”);

Reinsdorf v. Skechers U.S.A., Inc., 296 F.R.D. 604, 615 (C.D. Cal. 2013) (“However, while

parties must impose a reasonable construction on discovery requests and conduct a reasonable

search when responding to the requests, the Federal Rules do not demand perfection.”); NXP

B.V. v. Blackberry, Ltd., No. 6:12-CV-498-ORL-22, 2013 WL 6768350, at *5 (M.D. Fla. Dec.

20, 2013) (“[T]he Federal Rules of Civil Procedure do not require perfection or a guarantee that

every possible responsive document has been found or produced.”). And, as the Court recently

observed, Drummond likely already has enough information “to go prove [its] claims,” Doc. 241

(Aug. 16, 2023 Hr’g Tr.) 20:17-21,1 and it certainly has enough information to depose Mancuso.



1
    Unless otherwise noted, all “Doc.” citations refer to the RICO docket (2:15-cv-506).
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I.     Mancuso possess highly relevant information, which C&S has been trying to obtain
       in accordance with the Court’s orders for months.

       Drummond does not dispute that Mancuso has relevant information. Thus, C&S won’t

belabor this point. But it’s worth emphasizing just how relevant that information is. Mancuso has

testified to having discussions with senior AUC paramilitary leaders after they met with

Drummond, which would directly contradict prior sworn testimony from Drummond. See Ex. 1

(Mancuso Day 2 testimony before the Justice and Peace Commission (May 11, 2023)) at 27; Ex.

2 (Mancuso Day 3 testimony before the Justice and Peace Commission (May 15, 2023)) at 21-

22.

       In addition, Mancuso has information about the growing, and indisputable, body of

evidence regarding the Colombian military’s collaboration and relationship with the AUC. Just a

few years ago, the Southern District of Florida summarized the relationship between the

Colombian military and the AUC as follows:

       The Colombian government introduced and used paramilitary members to fight
       guerilla groups causing civil unrest in areas including the Middle Magdalena
       River region. These groups were consolidated into the AUC in 1997 and given the
       support of the Colombian army and local government officials. The AUC
       infiltrated areas in the country where the Colombian government had limited or
       no state presence. The AUC received tangible benefits from the Colombian
       government, such as transportation and communications, and it funded itself
       through the production, sale, and trafficking of narcotics. From 1997 to 2007, the
       AUC attacked civilian populations throughout Colombia.

Jaramillo v. Naranjo, No. 10-21951-CIV, 2021 WL 4427455, at *1 (S.D. Fla. Sept. 27, 2021).

       Mancuso recently provided some information about this collaboration in his Justice and

Peace testimony. Ex. 1 at 31; Ex. 2 at 29, 44. This information is highly relevant as Drummond

has admitted to paying millions of dollars to the Colombian military to protect its business

interests. Balcero Doc. 407 at 6, ¶ 7; Balcero Doc. 411 at 9, ¶ 18-19.




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       In March 2023, published news reports began suggesting that Mancuso may be deported

soon. In light of these reports, C&S sought Drummond’s consent to take Mancuso’s deposition,

explaining that it believed there was urgency in getting Mancuso deposed and noting it had

already produced, or would soon be producing, more than 2,600 documents relating to him. Doc.

198-4 (March meet and confer correspondence). Drummond did not consent. On May 2, C&S

filed its first motion for permission to depose Mancuso, which the Court granted the same day.

See Docs. 191 (Motion) & 192 (Order). C&S spent the next several weeks trying

(unsuccessfully) to obtain information from Immigration and Customs Enforcement regarding

the scheduling of Mancuso’s deposition.

       More than two weeks after the Court granted C&S’s motion, Drummond filed a motion

for reconsideration arguing that all Defendants should have to follow the same document

production process with respect to Mancuso that the Court had imposed for letters rogatory

witnesses in Colombia. Doc. 198 at 4-5, 14. The Court granted Drummond’s motion in part.

Doc. 205 (“Reconsideration Order”). It acknowledged Drummond’s concern about document

production, id. at 2, but rejected Drummond’s request that all Defendants follow the letters

rogatory procedure for documents related to Mancuso.2 Instead, the Court ordered that

Mancuso’s deposition could not go forward, absent further order, until all Defendants submitted

declarations or affidavits regarding their knowledge of payments or benefits to Mancuso or his

family. Id. ¶ 1. The order also provided that, in the alternative to all Defendants submitting such

declarations or affidavits, the deposition could go forward if Drummond notified the Court that it

was satisfied with all Defendants’ document production. Id. ¶ 3.


2
  Indeed, the Reconsideration Order did not contain a provision requiring the parties to work
together “to expedite review and production of documents relevant to the particular witnesses
that are to be deposed,” as did the order granting C&S’s motion for issuance of letters rogatory
requests. Compare Doc. 218 ¶ 1, with Doc. 205.


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       Pursuant to the Reconsideration Order, C&S collected and filed declarations from all

Defendants (except Defendant Ramirez), and it again sought the Court’s permission to depose

Mancuso. Doc. 215. After the Court denied C&S’s renewed request as premature and (C&S

contends) clarified portions of its Reconsideration Order, see Doc. 227, C&S filed revised

declarations from all Defendants (except Defendant Ramirez) and for a third time sought the

Court’s permission to depose Mancuso, Doc. 230. Although Drummond opposed C&S’s

renewed response to the Reconsideration Order, it did not oppose it on the basis that the Court

should have required the Defendants to follow the same document production procedure

established for letters rogatory witnesses. See Doc. 233 (Drummond’s opposition arguing only

that the absence of Ramirez’s declaration and qualifying language in the declarations that were

submitted precluded the deposition from going forward).

       Finally, during the August 16 hearing, the Court inquired of Drummond’s counsel

whether Defendant Ramirez’s declaration was the “last item that we would need to accomplish to

take Mancuso’s deposition,” to which Drummond’s counsel responded with an unqualified,

“Yes, sir.” Doc. 241 (Aug. 16, 2023 Hr’g Tr.) 11:5-7. After further discussion, the Court then

stated, “So we’re going to look to take him [Mancuso] by mid-September, then. All right.” Id.

11:17-18. Within hours after the conclusion of the hearing, C&S obtained and filed Ramirez’s

declaration. Doc. 238 & Doc. 238-1.

       In light of this exchange with the Court, C&S asked Drummond several weeks after the

hearing whether it now agreed Mancuso’s deposition could go forward. Doc. 254-2 (C&S meet

and confer correspondence). Drummond again refused to agree that it could. Doc. 254-3

(Drummond response letter). It first reiterated its arguments made before the August 16 hearing

that Defendants’ declarations were improperly qualified. It also objected on the basis that




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Defendants’ document production was still insufficient. Believing that the August 16 exchange

mooted the qualification argument, and that the Reconsideration Order, which Drummond never

sought to amend, had overruled Drummond’s objection based on the status of Defendants’

document production, C&S filed a renewed motion to depose Mancuso on October 5. Doc. 254.

       Put simply, at every juncture since filing its original motion in May, C&S has attempted

to comply with the Court’s Orders to facilitate the taking of this important witness testimony.

II.    The September 2011 agreements do not warrant further discovery as to Mancuso.

       Drummond devotes the majority of its response to a series of (mostly unsigned)

agreements between Collingsworth, Albert van Bilderbeek, and various non-parties dated

September 2011. Even though C&S was not a party to these agreements and, on their face, they

have nothing to do with Mancuso, C&S provides the Court with important background

information about their logging and production since Drummond argues their recent production

“validate[s]” its objection to Mancuso’s deposition.

       As Drummond acknowledges, these agreements were logged on IRAdvocates’ privilege

log in April 2016, more than two years before the Eleventh Circuit resolved C&S’s interlocutory

appeal in March 2018. See Drummond Co., Inc. v. Conrad & Scherer, LLP, 885 F.3d 1324 (11th

Cir. 2018). The documents were logged in response to Drummond’s subpoena to IRAdvocates.

As C&S explained to Drummond at the time, even though the subpoena was directed to

IRAdvocates (and not C&S), C&S agreed to oversee the document review, production, and

logging of documents responsive to the subpoena because it had preserved copies of

IRAdvocates’ email system and hard drives, and it had more resources than IRAdvocates to

devote to the project. Ex. 3 (W. Paulk Ltr. to T. Wells (Apr. 8, 2016)). Thus, utilizing in-house

personnel and outside counsel, C&S prepared the IRAdvocates’ log and produced hundreds of

responsive documents in March and April 2016. Id.


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       Several months later, the Court stayed the Defamation case in light C&S’s interlocutory

appeal. Defamation Doc. 500. (Discovery was also stayed in the RICO case. See Doc. 127.) After

the Eleventh Circuit resolved C&S’s appeal in March 2018, the Court lifted the existing stay of

these cases and the parties began implementing the crime-fraud order. As part of that process,

Drummond proposed more than 300 individual search terms, which, following multiple rounds

of refinement, C&S eventually applied to a massive 3.4 Terabyte database comprised of more

than 3,700,000 items that it created specifically for the crime-fraud review. Doc. 183 ¶ 6(h).

Applying the search terms to this database netted close to 170,000 email and document families.

Id. Utilizing a combination of manual reviewers and technology assisted review, C&S completed

its portion of the review and logging process in March 2023. Ex. 4 (W. Paulk Mar. 24, 2023

email). As part of the crime-fraud review, C&S also reviewed thousands of Collingsworth’s text

messages, and it produced responsive, non-privileged text messages to Drummond in July 2023.

Ex. 5 (W. Paulk July 24, 2023 email).

       In March 2020, while the crime-fraud review was ongoing, the Court entered an order

directing Defendants to review the documents on their existing privilege log, of which there were

more than 17,000 entries, and to recertify whether all of them should remain privileged in light

of the crime-fraud order. Doc. 183 ¶¶ 4-6; Defamation Doc. 620. Again, relying on in-house

personnel and outside counsel, C&S oversaw this project, and briefing on it (before the Court

and Special Master) continued through 2021 and 2022.

       It was not until March 2022 that Drummond first suggested that the IRAdvocates’

privilege log should undergo a recertification review similar to the review the Court had ordered

as to C&S’s privilege log. Ex. 6 (B. Presley Mar. 18, 2022 email). C&S and Drummond worked

with the Special Master to develop a sampling protocol for the recertification review, which the




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Special Master memorialized in May 2023 and to which both parties agreed. Ex. 7 (Special

Master May 23, 2023 email). C&S then began the recertification review, and it produced the

September 2011 agreements as part of this review on September 8, 2023—more than four

months before the fact discovery cutoff, before Ms. Levesque’s deposition,3 and months before

Collingsworth’s upcoming deposition.

          Drummond’s suggestion that it is a “fortuitous fact” these documents were ever produced

ignores this background and the information Drummond has had (since 2016) about these

documents. As part of the recertification process, Drummond was allowed to hand-pick the

documents it wanted C&S to review for recertification. Ex. 7 (“As a part of that recertification

process, Drummond shall identify the 50% set of documents to be reviewed.”). And, the

privilege descriptions of these documents that C&S included on the 2016 log, which are copied

below, were sufficiently detailed to allow Drummond to hone in on them:

      •   Docs. 256-4 to 256-8: “Agreement related to Albert van Bilderbeek reflecting attorney
          analysis in anticipation of litigation in the underlying case against Drummond.”4

      •   Doc. 256-9: “Loan agreement related to financing litigation against Drummond reflecting
          case strategy in anticipation of litigation in the underlying case against Drummond.”5

          In summary, these agreements have nothing to do with Mancuso, do not involve C&S

(which was not a party to them), and hardly “validate” Drummond’s objection to Mancuso’s

deposition going forward.

3
  Drummond quotes only a small portion of Ms. Levesque’s testimony after being asked about
these agreements in her deposition. She also explained that she did not recall the agreements or
recall witnessing them, did not know what they were for, did not know most of the individuals or
entities involved, and did not know what the money exchanging hands under them was to be
used for. See generally Doc. 256-11 (Levesque Dep. Tr.) 116:10-132:14.
4
  Although Drummond filed these agreements as separate documents, there were originally
maintained as a single PDF. Thus, they were logged as one entry (Entry 3376) and produced as
one document.
5
    This document was logged as Entry 3383 on the 2016 privilege log.


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III.   C&S has fulfilled its discovery obligations as to the additional information
       Drummond seeks from it.

       In its response, Drummond does not acknowledge the 2,600 documents relating to

Mancuso that C&S has produced, much less explain why those documents are not sufficient for

Mancuso’s deposition to go forward. As explained below, C&S has complied with its discovery

obligations, and Drummond cites no authority for the proposition that C&S should be prohibited

from pursuing discovery it seeks until other Defendants, over whom it has no authority or

control, respond to discovery requests directed to them.

       First, C&S searched for documents relating to Mancuso in late 2014 and early 2015. The

July 2015 declaration of C&S’s former outside counsel, Christopher Niewoehner (Defamation

Doc. 280-19), describes the massive document search and review project C&S and its outside

counsel undertook in the 2014-2015 time period to comply with the Court’s October 15, 2014

order in the Defamation case. See Defamation Doc. 151. That order applied, for the first time, a

broader definition of “Colombian witness” and “witness payments” than had previously been

applied to discovery requests. As part of that search effort, C&S and its outside counsel compiled

the names of individuals to be included in searches and, as indicated in yellow highlighting in

Exhibit 8, Mancuso was included in those searches.6

       Second, as Drummond’s own response reflects, it never served a request for production

on C&S expressly seeking communications with Joaquin Perez, one of Mancuso’s attorneys. The

only request for production served on C&S that Drummond contends seeks communications with

Perez is Request Number 1, which sought “All communications between Defendants and any

third party related to Drummond.” C&S timely objected to this request, as well as the phrase

6
  C&S has redacted Exhibit 8 so as to not risk waiver of any attorney-client privilege or attorney
work-product protection surrounding other witness names that it compiled with the assistance of
outside counsel. Should the Court so desire, C&S will submit an unredacted copy of Exhibit 8
for in camera review.


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“third party,” as overly broad, unduly burdensome, and not proportional to the needs of the case

given the impossible task of creating a search that would capture every “third party” with whom

C&S ever communicated regarding Drummond. See Ex. 9 (C&S and Bill Scherer’s Resp. to

Drummond’s 1st Reqs. for Prod. (May 19, 2016)) at 3-4. Until this dispute over Mancuso’s

deposition arose, Drummond never identified Perez as a “third party” it wanted C&S to search

for in response to this request. Notwithstanding its objection to Request Number 1, C&S has

confirmed that it produced more than 130 documents relating to Perez over the course of the

Defamation and RICO cases.

       Third, Drummond does not explain why discovery requests regarding financial interests

in C&S’s cases is necessary for Mancuso’s deposition to go forward. No one, including

Drummond, has suggested that Mancuso or his lawyers held any financial or other interest in

C&S’s cases. In any event, C&S timely responded to interrogatories about financial interests in

its cases truthfully and to the best of its knowledge as of time of the responses. See Ex. 10 (C&S

and Bill Scherer’s Resp. to Drummond’s 1st Interrogs. (May 19, 2016)) at 6-7 (identifying

individuals or entities holding financial interests in C&S’s cases).

       The September 2011 agreements do not call into question the accuracy of C&S’s

interrogatory responses regarding financial interests. The agreements convey interests only in

any recoveries Collingsworth personally receives. See Doc. 256-4 ¶ 5 (“The Borrower

[Collingsworth] hereby agrees with the Lender to offer and effect as security for the Loan the

Borrower’s entitlement in respect of legal fees (contingency fees or otherwise) arising to the

Borrower in respect of [the Baloco and Chiquita cases]” (emphasis added)); Doc. 256-6 ¶ B(a)

(“AS consideration for the services provided by JE as set out above TC will pay TEN PERCENT

(10%) of all gross fees or consideration otherwise received by TC in respect of the Drummond




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cases . . . .” (emphasis added)). The agreements do not grant an interest in any recoveries

belonging to C&S, which was not a party to them. Moreover, C&S had no knowledge of the

agreements in 2011, most of the agreements are unsigned, and C&S does not know whether they

were ever fully signed or were ever modified, topics Drummond is sure to cover in

Collingsworth’s deposition.

        Drummond’s fourth request is not directed to C&S.

IV.     Any additional production obligation should extend to Drummond as well.

        A long time ago, the Court observed, “What’s good for the goose is good for the gander.”

Defamation Doc. 63 (Oct. 10, 2013 Hr’g Tr.) 65:4. C&S has served requests for production on

Drummond that would call for information relating to Mancuso. See Ex. 11 (C&S and Bill

Scherer’s 1st Req. for Prod. to Drummond Company Inc. and Drummond Ltd. (June 20, 2016)),

Nos. 15, 19, 22, and 26. Although Drummond has served written responses to these requests,

including cross-referencing its prior production in Balcero, it is unclear to C&S whether

Drummond has produced all non-privileged documents responsive to these requests. If the Court

is inclined to order further review and production (or logging) of documents relating to Mancuso

as a condition of his deposition going forward, that obligation should extend to Drummond as

well.

                                        CONCLUSION

        Fortunately, Mancuso has not been deported, but that is going to change at some point.

The Court should finally permit C&S to take the deposition of this important witness before it

does.




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DATE: October 16, 2023       Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I certify that on October 16, 2023, I filed the foregoing electronically with the Clerk of
Court using the CM/ECF system, which will automatically serve all counsel of record and pro se
parties.


                                             s/ William T. Paulk
                                             William T. Paulk




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